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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

SADET TAHIRI, An Individual,                     CASE NO.
                                                 HON.
      Plaintiff,                                 Magis.
vs

RICHARD SETZER, an Individual,
And MCKENZIE DEVELOPMENT
CORPORATION d/b/a NATIONAL
RENTAL, A Foreign Profit Corporation,

       Defendants.
__________________________________________________________________/
 BRIAN E. MUAWAD (P41209)             KEVIN M. MULVANEY (P76915)
 Law Offices of Brian E. Muawad, P.C. Wilson Elser Moskowitz
 Attorney for Plaintiff               Edelman & Dicker, LLP
 22330 Greater Mack                   Attorneys for Defendant
 St. Clair Shores, MI 48080           Richard Setzer
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_________________________________________________________________/

       NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT

      NOW COMES the Defendant, RICHARD SETZER and pursuant to 28

U.S.C. §1332, 28 U.S.C. §1441(a) and (b), hereby removes to this Court the state

action described herein.

      1.     On or about January 17, 2020, Sadet Tahiri filed a Summons and

Complaint in the State of Michigan, Circuit Court for the county of Wayne,
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captioned, Sadet Tahiri v Richard Setzer and McKenzie Development Corporation

d/b/a National Rental, case number 20-000741-NI           (hereinafter “State Court

Action”). A copy of the Plaintiff’s Complaint is attached hereto as Exhibit A in

accordance with 28 U.S.C. § 1446(a).

        2.   The Defendant accepted service of Plaintiff’s Complaint on February

8, 2020.

        3.   The State Court action brought by the Plaintiff is wholly of a civil

nature over which the United States District Court, Eastern District of Michigan has

original jurisdiction pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1337. Said action

is one that may be removed by the Defendant pursuant to 28 U.S.C. §1441(a) and

(b), as the State Court Action is based upon personal injury that occurred in Oakland

County, Michigan.

        4.   This case is a civil action over which this court has diversity

jurisdiction, pursuant to 28 U.S.C. Sec. 1332. Specifically, the incident which gives

rise to Plaintiffs’ cause of action occurred in the County of Oakland, State of

Michigan. The Plaintiff resides in and is a citizen of the County of Wayne and State

of Michigan. (Exhibit A - Summons and Complaint, paragraph 1). Defendant

Richard Setzer resides in the City of Cincinnati, County of Hamilton, and State of

Ohio.
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      5.      This Court has diversity jurisdiction over this matter pursuant to 28

U.S.C. 1332 based upon complete diversity of citizenship and because the amount

in controversy in this matter, computed on the basis of all claims to be determined

in this suit, presumably exceeds the jurisdictional sum or value of $75,000.00,

exclusive of interest and costs. In support of this allegation, the Defendant submits

the following facts and reasons:

           a. Plaintiff alleges serious injuries to her back, neck, shoulders, and other

              parts of her body as well as other related and appreciable difficulties,

              injuries, or consequences that have occurred, developed, or aggravated

              any preexisting problem that might have existed; pain, suffering, and

              mental anguish; wage loss or actual future loss of earnings to the extent

              that such losses are recoverable in excess of the no-fault statutory

              monthly and yearly maximums that are found to apply to the cause; and

              other damages, injuries, and consequences that are found to be located

              to the automobile accident that developed during the           course of

              discovery, to the extent that the damages are recoverable under the

              Michigan No-Fault Insurance Act. Exhibit A - Summons and

              Complaint, ¶¶ 11.

      b.      Although the Defendant denies any liability, if the above allegations are

              all proven to be true and all proven to be related to the accident, the
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             amount in controversy and the value of the damages sought by Plaintiff

             exceeds the sum or value of $75,000.00 exclusive of interest, costs and

             attorney fees.

      7.     A Notice of Filing Notice of Removal to Federal Court and a copy of

this Notice of Removal of Action to Federal Court will be filed with the 3rd Circuit

Court for the County of Wayne, State of Michigan, as required by 28 U.S.C. 1446(d)

and copies of the same served upon all counsel of record. Responsive pleadings

were filed in Wayne County Circuit Court on March 9, 2020. (Exhibit B –

Defendant’s Answer to Plaintiff’s Complaint.)

      8.     Based upon the foregoing, the parties are entitled to remove this action

to this Court under 28 U.S.C., 1332 and 28 USC 1446(a) and (b).

      9.     This Notice of Removal is filed in compliance with Rule 11 of the

Federal Rules of Civil Procedure.

      10.    The Defendant reserves all defenses, including but not limited to, those

under Rule 12(b) of the Federal Rules of Civil Procedure and does not waive said

defenses by the filing of this Notice.

      WHEREFORE, the Defendant, Richard Setzer, respectfully prays that the

above-entitled action now pending against it in the Wayne County Circuit Court,
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case number 20-000741-NI, be hereby removed from the above-referenced State

Court to the United States District Court for the Eastern District of Michigan.

                                       Respectfully submitted,

                                       WILSON ELSER MOSKOWITZ
                                       EDELMAN & DICKER LLP

                                       /s/ Kevin M. Mulvaney
                                       Kevin M. Mulvaney (P76915)
                                       Attorneys for Defendant Richard Setzer
                                       17197 N. Laurel Park Drive, Suite 201
                                       Livonia, MI 48152
Dated: March 9, 2020                   Phone: (313) 327-3100
